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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-254V
                                      Filed: June 24, 2016
                                         UNPUBLISHED

****************************
KELLY CARTER,                             *
                                          *
                     Petitioner,          *     Damages Decision Based on Proffer;
                                          *     Influenza Vaccine (“Flu Vaccine”);
                                          *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                       *     Administration (“SIRVA”);
AND HUMAN SERVICES,                       *     Special Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Jeffrey S. Pop, Jeffrey S. Pop, Attorney at Law, Beverly Hills, CA, for petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

        On February 23, 2016, Kelly Carter (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleges that she “developed severe
pain in her right shoulder and right arm” caused by the influenza vaccination she
received on November 4, 2014. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On May 9, 2016, a ruling on entitlement was issued, finding petitioner entitled to
compensation. On June 23, 2016, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $80,000.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Id.


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Based on the record as a whole, the undersigned finds that petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $80,000.00 in the form of a check payable to
petitioner, Kelly Carter. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

*************************************
KELLY CARTER,                       *
                                    *
                  Petitioner,       *                        No. 16-254V
                                    *                        CHIEF SPECIAL MASTER
v.                                  *                        NORA BETH DORSEY
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       For purposes of this proffer, the term “vaccine-related” is as described in Respondent’s

Rule 4(c) Report, filed on May 9, 2016, conceding entitlement in this case. Based upon the

evidence of record, respondent proffers that petitioner should be awarded $80,000.00. This

represents all elements of competition to which petitioner would be entitled under 42 U.S.C.

§ 300aa-15(a) for her vaccine-related injury.1 Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment described below, and request that the Chief Special Master’s

decision and the Court’s judgment award the following:

               A lump sum payment of $80,000.00 in the form of a check payable to petitioner,
               Kelly Carter. This amounts accounts for all elements of compensation under 42
               U.S.C. § 300aa-15(a) to which petitioner would be entitled.



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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
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                                                                      2



Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                     Respectfully submitted,

                                                     BENJAMIN C. MIZER
                                                     Principal Deputy Assistant Attorney General

                                                     RUPA BHATTACHARYYA
                                                     Director
                                                     Torts Branch, Civil Division

                                                     CATHARINE E. REEVES
                                                     Acting Deputy Director
                                                     Torts Branch, Civil Division

                                                     LINDA S. RENZI
                                                     Senior Trial Counsel
                                                     Torts Branch, Civil Division

                                                     /s/ DEBRA A. FILTEAU BEGLEY
                                                     DEBRA A. FILTEAU BEGLEY
                                                     Trial Attorney
                                                     Torts Branch, Civil Division
                                                     U.S. Department of Justice
                                                     P.O. Box 146
                                                     Benjamin Franklin Station
                                                     Washington, D.C. 20044-0146
                                                     Phone: (202) 616-4181
Dated: June 23, 2016                                 Fax:     (202) 353-2988
